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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA

v.                                      Crim. Action No. 21-24-1 (EGS)

ROBERT GIESWEIN,

                    Defendant.




                                     ORDER
     The Court has previously found it necessary to order that

trial in this matter cannot commence on April 20, 2022. See Feb.

16, 2022 Minute Order. Having ascertained the schedules of counsel

for the parties, and consulted the Court’s calendar, it is hereby

ORDERED that Jury selection shall now occur on October 24, 2022 at

9:00 a.m.

     SO ORDERED.


Signed:
              Emmet G. Sullivan
              United States District Judge


Date:        _______________________________
